

Matter of Naomie H. (Lisa H.--Michael J.M.) (2021 NY Slip Op 01576)





Matter of Naomie H. (Lisa H.--Michael J.M.)


2021 NY Slip Op 01576


Decided on March 19, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 19, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CARNI, NEMOYER, CURRAN, AND WINSLOW, JJ.


171 CAF 18-02362

[*1]IN THE MATTER OF NAOMIE H. GENESEE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; LISA H., RESPONDENT. MICHAEL J.M., SR., APPELLANT. (APPEAL NO. 4.) 






DAVID J. PAJAK, ALDEN, FOR APPELLANT.
ANDREA R. CLATTENBURG, BATAVIA, FOR PETITIONER-RESPONDENT. 
BRIAN P. DEGNAN, BATAVIA, ATTORNEY FOR THE CHILD.


	Appeal from a modified order of the Family Court, Genesee County (Eric R. Adams, J.), entered December 7, 2018 in a proceeding pursuant to Family Court Act article 10. The modified order, inter alia, determined that respondent had neglected the subject child and placed the child in the custody of a relative. 
It is hereby ORDERED that the modified order so appealed from is unanimously modified on the law by vacating the disposition and as modified the modified order is affirmed without costs and the matter is remitted to Family Court, Genesee County, for further proceedings.
Same memorandum as in Matter of Michael J.M., Sr. v Lisa M.H. (— AD3d — [Mar. 19, 2021] [4th Dept 2021]).
Entered: March 19, 2021
Mark W. Bennett
Clerk of the Court








